                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION




 BellSouth Telecommunications, LLC d/b/a
 AT&T Tennessee,
                                                        Case No. 3:16-cv-2509 (Lead Case)
                        Plaintiff,
                                                        Judge Trauger
         v.

 Metropolitan Government of Nashville and
 Davidson County, et al.,

                        Defendants.



 Comcast of Nashville I, LLC,

                        Plaintiff,                      Case No. 3:16-cv-2794 (Member Case)

         v.                                             Judge Trauger


 Metropolitan Government of Nashville and
 Davidson County, et al.,

                        Defendants.




                  FINAL JUDGMENT AND PERMANENT INJUNCTION

       Pursuant to Federal Rules of Civil Procedure 56 and 58, this matter having come before

the Court on Plaintiffs’ motions for summary judgment [Doc Nos. 44, 49], Defendants’ motion for

summary judgment [Doc. No. 77], Plaintiffs’ motion for entry of final judgment and injunction,

and Nashville Electric Service’s statement in response to the amended complaints [Doc. No. 113],

the Court hereby enters judgment in favor of the Plaintiffs as to Counts I and II of their Complaints,




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and enters judgment in favor of Defendants as to Count III of Plaintiffs’ complaints. Accordingly,

it is hereby ORDERED and ADJUDGED as follows:

       1.      The Court DECLARES that Metro Nashville Ordinance No. BL2016-343 (“the

Ordinance”) is preempted by federal law as applied to utility poles owned by BellSouth

Telecommunications, LLC (“AT&T”) and other private parties.

       2.      Defendants are PERMANENTLY ENJOINED from applying the Ordinance to

utility poles owned by AT&T and other private parties.

       3.      The Court DECLARES that the Ordinance is ultra vires and void or voidable as to

utility poles owned by Nashville Electric Service because adoption of the Ordinance exceeded

Metro Nashville’s authority and violated the Metro Charter.

       4.      Defendants are PERMANENTLY ENJOINED from applying the Ordinance to

utility poles owned by Nashville Electric Service.

       5.      Each party shall bear its own costs, and these cases are closed.



              January 5, 2018
       Dated: _______________.

                                                        _________________________________

                                                       United States District Judge




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